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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:08-cr-119

v.                                                          HON. JANET T. NEFF

RAJINDER SINGH,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Rajinder Singh has filed a motion for modification or reduction of sentence (Dkt

395) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. The U.S. Probation

Department filed a Sentence Modification Report ((Dkt 417) which inaccurately found defendant

ineligible for a reduction in sentence due to the statutory mandatory minimum controlling the

sentence. The parties stipulated (Dkt 427) to the retroactive application of the sentencing

amendment and correctly states that the Defendant is eligible for a reduction of sentence.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.
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       Having fully considered the Sentence Modification Report (Dkt 417) and the Stipulation

(Dkt 427) , the Court has determined that the defendant is eligible for a reduction of sentence

according to the policy statements of the U.S. Sentencing Commission. The Government released

the mandatory minimum in this case and a sentence modification is appropriate under 18 U.S.C . §

3553. Therefore, IT IS HEREBY ORDERED that Defendant’s motion for modification of sentence

(Dkt 395) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant’s sentence is reduced to

a term of custody of time served with an effective date of November 1, 2015.

       IT IS FURTHER ORDERED that all other aspects of the original judgment order including

the length of term of supervised release, all conditions of supervision, fines, restitution, and special

assessment remain as previously imposed.



DATED: June 23, 2015                                     /s/ Janet T. Neff
                                                        JANET T. NEFF
                                                        United States District Judge




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